                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas; et al.

                                                                                    PLAINTIFFS


 v.                                  NO. 5:23-CV-05086


 CRAWFORD COUNTY, ARKANSAS; et al.


                                                                                 DEFENDANTS


                              DECLARATION OF DAVID GROGAN
      I, David Grogan, pursuant to 28 U.S.C.§ 1746, do declare:

      1. I am the Director of the American Booksellers for Free Expression, Advocacy and Public

Policy (“ABFE”), a division of the American Booksellers Association (“ABA”) a plaintiff in this

action. I make this declaration in support of plaintiffs’ motion for summary judgment. I have

been working at the ABA since 2002.

      2. The ABA was founded in 1900 and is a national not-for-profit trade organization that works

to help independently owned bookstores grow and succeed. The ABA represents over 2,100

member companies operating in over 2,500 locations. The ABA’s core members are key

participants in their communities’ local economy and culture. To assist them, the ABA provides

education, information dissemination, business products, and services; creates relevant programs;

and engages in public policy, industry, and local-first advocacy. The ABA has 17 members located

in Arkansas who are subject to Act 372.


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    3. Section 1 of Act 372 of 2023 (“Act 372”) prohibits making books that are “harmful to

minors” available to minors, forcing this large quantity of constitutionally protected materials to

be restricted from adults, as I describe below.

    4. The ABA and its Arkansas member bookstores and booksellers fear that they and their

employees may be at risk of prosecution under Section 1 for permitting minors to view or access

constitutionally protected material which might be deemed “harmful to minors” for any minor

under the meaning of the statute. ABA’s Arkansas members do not know how to determine what

books may cross this vague line, which does not distinguish between older and younger minors.

    5. Any bookstore contains hundreds of books with sexually related narrative or pictorial

content that might appeal to prurient interest in sex to minors. These books fall in many literary

genres, such as fiction, non-fiction, romance, photography, health, art/photography and new

releases. Contemporary bestsellers like “Fifty Shades of Grey” and the “Bridgerton” series;

literary classics as “Dracula,” “Romeo & Juliet,” “Ulysses,” “Gone with the Wind,” and “The

Color Purple” come to mind.

    6. Readers generally become acquainted with books when they are readily visible. While

many customers come into ABA member bookstores asking for a specific title, many more

discover a new title while browsing. If titles were hidden away, those sales would be lost. The

prominent display of books shelved or displayed on tables in an orderly, easily accessible manner

in an atmosphere conducive to browsing is essential for the success of ABA member bookstores.

    7. To comply with Section 1 of Act 372, bookstores are faced with untenable choices.

            a. The bookstore could bar all patrons under the age of 18 from entering the

                bookstores. This would alter the purpose and actions of the bookstore owners. This

                would also dramatically affect children and young adult book sales and would




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                imply the store only sold “adult” books, which would be immensely detrimental to

                business. Further, it would prevent older minors from perusing and purchasing

                materials constitutionally protected as to them.

            b. A bookstore could limit its inventory to books or other items not regulated by

                Section 1, however, that would curtail the availability of a number of very popular

                books, including some bestsellers, and thus, this alternative is not practically or

                commercially feasible. In addition, this alternative would create practical

                difficulties in ordering new books because bookstores rarely have the opportunity

                to review books before ordering them. This alternative would also prevent older

                minors from perusing and purchasing materials constitutionally protected as to

                them.

            c. Alternatively, the bookstore could place all materials that could be “harmful to

                minors” behind a counter, but given the large number of constitutionally protected

                books involved, that may entail a restructuring of the store to ensure space. Since

                the display of books is crucial to book sales, this would also hurt sales. This option

                would also necessitate that employees perform the difficult task of designating

                books across multiple genres as “harmful to minors.” This too would restrict the

                ability of adults and older minors to peruse and purchase materials constitutionally

                protected as to them.

            d. The bookstore could also designate a room “adults only.” This would, like the

                “behind the counter” option, potentially involve costly renovations and burden

                employees with the separation of books. Further, this new room would be difficult

                to monitor necessitating keys or electronic access (which would also entail




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                additional costs) and would be confusing to patrons. That kind of segregation would

                also lead to drop in sales of the segregated books, as many adults would be hesitant

                to go into the “adults only” room. As with the other alternatives, this would restrict

                the ability of adults and older minors to peruse and purchase materials

                constitutionally protected as to them.

    8. For all the reasons stated above, ABA’s Arkansas members fear prosecution under Section

1. If Section 1 is not held unconstitutional, the members will be forced to self-censor and restrict

materials available in their stores to a great degree to great business detriment, or risk criminal

liability.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 10th day of May, 2024.

                                               /s/ David Grogan
                                               David Grogan




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